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                     IN THE UNITED STATES DISTRICT COURT

                      FOR THE MIDDLE DISTRICT OF FLORIDA

                                  ORLANDO DIVISION

COLBY ALEXANDER FRANK, an individual,           Case No.: 6:23-cv-2043-PGB-RMN

                   Plaintiff,
       v.                                       PLAINTIFF’S LOCAL RULE 1.07(c)
                                                NOTICE OF PENDANCY OF RELATED
RANDALL ADAM FINE (a/k/a RANDY                  CASE;
FINE) in his official capacity as Member
of the Florida House of Representatives         REQUEST TO TAKE JUDICIAL NOTICE
for the 33rd Congressional District of          OF OTHER RELATED LITIGATION
the State of Florida; and in his
individual capacity,

                 Defendant.


       Plaintiff Frank respectfully asks the Court to take notice of the following:

        NOTICE OF PENDANCY OF RELATED CASE – LOCAL RULE 1.07(c)

       1.     Under Local Rule 1.07(c), “lead counsel has a continuing duty to notify the

judge of a related action pending in the Middle District or elsewhere.” Plaintiff Colby

Alexander Frank hereby notifies the Court that Mr. Frank is a plaintiff in the case stylized

Frank v. Chitwood et al, filed in the 7th Circuit Court for Volusia County, Florida, Case No.:

2024 13385 CIDL. The claims brought in the above stylized case are related, but do not

directly overlap with the claims pending in the present case.


   REQUEST TO TAKE JUDICIAL NOTICE OF OTHER RELATED LITIGATION

       2.     Plaintiff also asks the Court to exercise its discretion to take judicial notice

of two pending lawsuits with relevance to Plaintiff’s claims pending in this case:
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       3.     First, Plaintiff asks the Court to take judicial notice of Desguin v. FDLE &

Ron DeSantis, pending in the 2nd Circuit Court for Leon County, Florida, Case No.: 2024-

CA-001007. Specifically, Plaintiff brings to this Court’s attention ¶¶ 21–23 of the

complaint, which support Plaintiff’s allegation of a conspiracy by state actors to suppress

political speech, and specially, political opinions, through the use of House Bill 269. (See

Attachment A).

       4.     Second, Plaintiff asks the Court to take judicial notice of Sabal v. Anti-

Defamation League, Civil Action No. 4:23-cv-01002-O (N.D. Tex.). Plaintiff specifically asks

the Court to take notice of Dkt. 35 in that action, an order by the Honorable United States

District Judge Reed O’Connor denying the Defendant Anti-Defamation League’s 12(b)(6)

motion to dismiss a defamation claim. The pertinent portions of that order provide as

follows:

       Published by ADL’s Center on Extremism, the entry links to a mission
       statement advising readers that ADL “track[s] extremist trends, ideologies
       and groups across the ideological spectrum” and its “staff of investigators,
       analysts, researchers and technical experts strategically monitor, expose
       and disrupt extremist threats.” … Combined with the mission statement,
       the Glossary’s context appears convey factual assertions about persons with
       Glossary entries rather than mere opinion… To a reasonable reader, the
       Glossary may objectively indicate that all persons on this list are similarly
       dangerous and abhorrent… Therefore, it is plausible that the inclusion of
       Sabal as an entry in the Glossary factually implies that he is a particular
       type of dangerous extremist who engages in, or is otherwise responsible
       for, similar criminal activity. As a result, the Court determines that Sabal
       pleads sufficient facts at this stage to show that the Glossary entry is a
       provably false statement and, in context, carries defamatory impact.”1



1
 Sabal v. Anti-Defamation League, Civil Action No. 4:23-cv-01002-O (N.D. Tex.) Dkt. 35, pp.
12–13.
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          By including Sabal alongside antisemites and extremists in a report
          highlighting “[h]ate [c]rime [s]tatistics” and “[e]xtremist [p]lots and
          [m]urders,” a reasonable reader could objectively understand the
          publication’s context as making a factual assertion that Sabal’s events are
          associated with such criminal activity. Further evincing this potential
          factual imputation is the Lone Star Report’s hyperlink to Sabal’s Glossary
          entry. As with the publications discussed above, inclusion of Sabal by name
          in a report about criminal extremism and antisemitism is “obviously hurtful
          to [his] reputation” in Texas and carries the potential to injure his “office,
          profession, or occupation.” Hancock, 400 S.W.3d at 63, 64.2

          5.     As in the Desguin case, Plaintiff’s operative complaint alleges that

Defendant Rep. Randy Fine published numerous defamatory statements in

association with his attendance at Sheriff Michael J. Chitwood’s February 27, 2023

“Rallying Against Hate” press conference, and in numerous other contexts

associating Plaintiff and Plaintiff’s image with antisemitism, extremism, terrorism,

and criminal conduct. (Dkt. 48). For instance, Defendant Fine specifically referred

to Plaintiff as an “antisemitic terrorist” (Dkt. 48 at p. 20); as “being prosecuted for

one violent felony” (Dkt. 48 at p. 19); as well as numerous other allegations of

criminal conduct. (Dkt. 48, passim) (Dkt. 49, passim). Judge O’Connor’s order in

Desguin is instructive as to whether the “reasonable reader could objectively

understand the publication’s context as making a factual assertion that Sabal’s

events are associated with such criminal activity,” and therefore, state a plausible

claim for defamation.




2
    Id. at 13.
